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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

                                                   CASE NO.:
HOWARD COHAN,

      Plaintiff,

vs.                                          INJUNCTIVE RELIEF SOUGHT


COCOA BEACH SURF COMPANY, a
Florida Profit Corporation, d/b/a FOUR
POINTS BY SHERATON COCOA BEACH

     Defendant(s).
____________________________________/

                                  COMPLAINT

      Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned

counsel, hereby files this Complaint and sues COCOA BEACH SURF

COMPANY, a Florida Profit Corporation, d/b/a FOUR POINTS BY SHERATON

COCOA BEACH (“Defendant”), for declaratory and injunctive relief, attorneys’

fees, expenses and costs (including, but not limited to, court costs and expert fees)

pursuant to 42 U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities

Act (“ADA”) and alleges as follows:

                         JURISDICTION AND VENUE

      1.     This Court is vested with original jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331, 343 for Plaintiff’s claims arising under Title 42
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U.S.C. § 12182 et. seq., based on Defendant’s violations of Title III of the ADA.

See also, 28 U.S.C. §§ 2201, 2202, as well as the 2010 ADA Standards.

      2.     Venue is proper in this Court, Orlando Division, pursuant to 28 U.S.C.

§ 1391(B) and Internal Operating Procedures for the United States District Court

for the Middle District of Florida in that all events giving rise to the lawsuit

occurred in Brevard County, Florida.

                                       PARTIES

      3.     Plaintiff, HOWARD COHAN is sui juris and is a resident of the State

of Florida residing in Palm Beach County, Florida.

      4.     Upon information and belief, Defendant is the lessee, operator, owner

and lessor of the Real Property, which is subject to this suit, and is located at 4001

N. Atlantic Ave., Cocoa Beach, Florida 32931, (“Premises”), and is the owner of

the improvements where Premises is located.

      5.     Defendant is authorized to conduct, and is in fact conducting, business

within the state of Florida.

      6.     Plaintiff is an individual with numerous permanent disabilities

including severe spinal stenosis of the lumbar spine with spondylolisthesis; severe

spinal stenosis of the cervical spine with nerve root compromise on the right side; a

non-union fracture of the left acromion (shoulder); a labral tear of the left shoulder;

a full thickness tear of the right rotator cuff; a right knee medial meniscal tear; a
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repaired ACL and bilateral meniscal tear of the left knee; and severe basal joint

arthritis of the left thumb. The above listed permanent disabilities and symptoms

cause sudden onsets of severe pain and substantially limit Plaintiff’s major life

activities. At the time of Plaintiff’s visit to the Premises on July 22, 2021, (and

prior to instituting this action), Plaintiff suffered from a “qualified disability” under

the ADA, and required the use of fully accessible restrooms. Plaintiff personally

visited the Premises but was denied full and equal access and full and equal

enjoyment of the facilities and amenities within the Premises, even though he

would be classified as a “bona fide patron”.

      7.     Plaintiff, in his individual capacity, will absolutely return to the

Premises and avail himself of the services offered when Defendant modifies the

Premises or modifies the policies and practices to accommodate individuals who

have physical disabilities.

      8.     Plaintiff is continuously aware of the violations at Defendant's

Premises and is aware that it would be a futile gesture to return to the Premises as

long as those violations exist, and Plaintiff is not willing to suffer additional

discrimination.

      9.     Plaintiff has suffered, and will continue to suffer, direct and indirect

injury as a result of Defendant's discrimination until Defendant is compelled to

comply with the requirements of the ADA.
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      10.    Plaintiff would like to be able to be a patron of the Premises in the

future and be able to enjoy the goods and services that are available to the able-

bodied public, but is currently precluded from doing so as a result of Defendant's

discriminatory conduct as described herein. Plaintiff will continue to be precluded

from using the Premises until corrective measures are taken at the Premises to

eliminate the discrimination against persons with physical disabilities.

      11.    Completely independent of the personal desire to have access to this

place of public accommodation free of illegal barriers to access, Plaintiff also acts

as a “tester” for the purpose of discovering, encountering and engaging

discrimination against the disabled in public accommodations. When acting as a

“tester”, Plaintiff employs a routine practice. Plaintiff personally visits the public

accommodation; engages all of the barriers to access, or at least of those that

Plaintiff is able to access; tests all of those barriers to access to determine whether

and the extent to which they are illegal barriers to access; proceeds with legal

action to enjoin such discrimination; and subsequently returns to Premises to verify

its compliance or non-compliance with the ADA and to otherwise use the public

accommodation as members of the able-bodied community are able to do.

Independent of other subsequent visits, Plaintiff also intends to visit the Premises

regularly to verify its compliance or non-compliance with the ADA, and its

maintenance of the accessible features of Premises. In this instance, Plaintiff, in
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Plaintiff’s individual capacity and as a “tester”, visited Premises, encountered

barriers to access at Premises, and engaged and tested those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access and the ADA violations set forth herein. It is

Plaintiff’s belief that said violations will not be corrected without Court

intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

       12.   Plaintiff, in his capacity as a tester, will absolutely return to the

Premises when Defendant modifies the Premises or modifies the policies and

practices to accommodate individuals who have physical disabilities to confirm

said modifications have been completed in accordance with the requirements of the

ADA.

       VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       13.   Plaintiff adopts and re-alleges the allegations stated in paragraphs 1

through 12 above as if fully stated herein.

       14.   On July 26, 1990, Congress enacted the Americans With Disabilities

Act (“ADA”), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided

one and a half (1.5) years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992, or

January 26, 1993 if Defendant(s) have ten (10) or fewer employees and gross

receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).
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    15.      Congress found, among other things, that:

          a. some 43,000,000 Americans have one or more physical or mental

             disabilities, and this number shall increase as the population continues

             to grow older;

          b. historically, society has tended to isolate and segregate individuals

             with disabilities and, despite some improvements, such forms of

             discrimination against disabled individuals continue to be a pervasive

             social problem, requiring serious attention;

          c. discrimination against disabled individuals persists in such critical

             areas    as      employment,         housing,     public      accommodations,

             transportation, communication, recreation, institutionalization, health

             services, voting and access to public services and public facilities;

          d. individuals      with   disabilities      continually      suffer   forms    of

             discrimination,     including        outright   intentional    exclusion,   the

             discriminatory      effects     of     architectural,   transportation,     and

             communication barriers, failure to make modifications to existing

             facilities and practices. Exclusionary qualification standards and

             criteria, segregation, and regulation to lesser services, programs,

             benefits, or other opportunities; and,
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            e. the continuing existence of unfair and unnecessary discrimination and

               prejudice denies people with disabilities the opportunity to compete

               on an equal basis and to pursue those opportunities for which our

               country is justifiably famous, and accosts the United States billions of

               dollars in unnecessary expenses resulting from dependency and non-

               productivity.

42 U.S.C. § 12101(a)(1)-(3),(5) and (9).

      16.      Congress explicitly stated that the purpose of the ADA was to:

            a. provide a clear and comprehensive national mandate for elimination

               of discrimination against individuals with disabilities;

            b. provide clear, strong, consistent, enforceable standards addressing

               discrimination against individuals with disabilities; and

            c. invoke the sweep of congressional authority, including the power to

               enforce the fourteenth amendment and to regulate commerce, in order

               to address the major areas of discrimination faced on a daily basis by

               people with disabilities.

U.S.C. § 12101(b)(1)(2) and (4).

      17.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010

ADA Standards, Defendant’s Premises is a place of public accommodation
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covered by the ADA by the fact it provides services to the general public and must

be in compliance therewith.

      18.     Defendant has discriminated and continues to discriminate against

Plaintiff and others who are similarly situated, by denying access to, and full and

equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations located at the Premises, as prohibited by 42 U.S.C. § 12182 and

42 U.S.C. § 12101 et. seq., and by failing to remove architectural barriers pursuant

to 42 U.S.C. § 12182(b)(2)(A)(iv).

      19.     Plaintiff has visited Premises, and has been denied full and safe equal

access to the facilities and therefore suffered an injury in fact.

      20.     Plaintiff would like to return and enjoy the goods and/or services at

Premises on a spontaneous, full and equal basis. However, Plaintiff is precluded

from doing so by the Defendant’s failure and refusal to provide disabled persons

with full and equal access to their facilities. Therefore, Plaintiff continues to suffer

from discrimination and injury due to the architectural barriers that are in violation

of the ADA.

      21.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice, Officer of the Attorney General promulgated Federal

Regulations to implement the requirements of the ADA. See 28 C.F.R. § 36 and its

successor the 2010 ADA Standards ADA Accessibility guidelines (hereinafter
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referred to as “ADAAG”), 28 C.F.R. § 36, under which said Department may

obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00 for

and subsequent violation.

      22.      Based on a preliminary inspection of the Premises, Defendant is in

violation of 42 U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act

Standards et. seq., and is discriminating against Plaintiff as a result of, inter alia,

the following specific violations:

      Men's Lobby Restroom GENERAL

            a. Failure to provide proper knee clearance for a person with a disability

               under a counter or sink element in violation of 2010 ADAAG §§ 306,

               306.1 306.3, 606 and 606.2.

            b. Providing a gate or door with a continuous opening pressure of greater

               than 5 lbs. exceeding the limits for a person with a disability in

               violation of 2010 ADAAG §§ 404, 404.1, 404.2, 404.2.9 and 309.4.

            c. Failure to provide mirror(s) located above lavatories or countertops at

               the proper height above the finished floor in violation of 2010

               ADAAG §§ 603 and 603.3.

      Men's Lobby Restroom ACCESSIBLE STALL

            d. Failure to provide flush controls located on the open side of the water

               closet in violation of 2010 ADAAG §§309, 309.4, 604 and 604.6
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            e. Providing grab bars of improper horizontal length or spacing as

               required along the side wall in violation of 2010 ADAAG §§ 604,

               604.5, 604.5.1 and 604.5.2.

            f. Failure to provide operable parts that are functional or are in the

               proper reach ranges as required for a person with a disability in

               violation of 2010 ADAAG §§ 309, 309.1, 309.3, 309.4 and 308 (stall

               door handle).

            g. Failure to provide the proper spacing between a grab bar and an object

               projecting out of the wall in violation of 2010 ADAAG §§ 609, 609.1

               and 609.3 (paper towel dispenser).

            h. Failure to provide proper knee clearance for a person with a disability

               under a sink element in violation of 2010 ADAAG §§ 306, 306.1

               306.3, 606 and 606.2

            i. Failure to provide the proper insulation or protection for plumbing or

               other sharp or abrasive objects under a sink or countertop in violation

               of 2010 ADAAG §§ 606 and 606.5.

      23.      To the best of Plaintiff’s belief and knowledge, Defendant has failed

to eliminate the specific violations set forth in paragraph 22 herein.
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      24.    Although Defendant is charged with having knowledge of the

violations, Defendant may not have actual knowledge of said violations until this

Complaint makes Defendant aware of same.

      25.    To date, the readily achievable barriers and other violations of the

ADA still exist and have not been remedied or altered in such a way as to

effectuate compliance with the provisions of the ADA.

      26.    As the owner, lessor, lessee or operator of the Premises, Defendant is

required to comply with the ADA. To the extent the Premises, or portions thereof,

existed and were occupied prior to January 26, 1992, the owner, lessor, lessee or

operator has been under a continuing obligation to remove architectural barriers at

the Premises where removal was readily achievable, as required by 28 C.F.R.

§36.402.

      27.    To the extent the Premises, or portions thereof, were constructed for

occupancy after January 26, 1993 the owner, lessor, lessee or operator of the

Premises was under an obligation to design and construct such Premises such that

it is readily accessible to and usable by individuals with disabilities, as required by

28 C.F.R. §36.401.

      28.    Plaintiff has retained the undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’

fees, costs and expenses paid by Defendant, pursuant to 42 U.S.C. § 12205.
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      29.      All of the above violations are readily achievable to modify in order to

bring Premises or the Facility/Property into compliance with the ADA.

      30.      In instance(s) where the 2010 ADAAG standard does not apply, the

1991 ADAAG standard applies and all of the violations listed in paragraph 22

herein can be applied to the 1991 ADAAG standards.

      31.      Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff’s injunctive relief, including an order to alter the subject facility

to make them readily accessible to and useable by individuals with disabilities to

the extent required by the ADA and closing the Subject Facility until the requisite

modifications are completed.

      WHEREFORE, Plaintiff demands judgment against Defendant and requests

the following injunctive and declaratory relief:

            1. That this Court declares that Premises owned, operated and/or

               controlled by Defendant is in violation of the ADA;

            2. That this Court enter an Order requiring Defendant to alter their

               facilities to make them accessible to and usable by individuals with

               disabilities to the full extent required by Title III of the ADA;

            3. That this Court enter an Order directing the Defendant to evaluate and

               neutralize their policies, practices and procedures toward persons with
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           disabilities, for such reasonable time so as to allow the Defendant to

           undertake and complete corrective procedures to Premises;

        4. That this Court award reasonable attorney’s fees, all costs (including,

           but not limited to the court costs and expert fees) and other expenses

           of suit to the Plaintiff; and,

        5. That this Court award such other and further relief as it may deem

           necessary, just and proper.


     Dated March 4, 2022.

                                Sconzo Law Office, P.A.
                                3825 PGA Boulevard, Suite 207
                                Palm Beach Gardens, FL 33410
                                Telephone: (561) 729-0940
                                Facsimile: (561) 491-9459

                                By: /s/ Gregory S. Sconzo
                                GREGORY S. SCONZO, ESQUIRE
                                Florida Bar No.: 0105553
                                Primary Email: greg@sconzolawoffice.com
                                Primary Email: samantha@sconzolawoffice.com
                                Secondary Email: alexa@sconzolawoffice.com
                                Secondary Email: natalia@sconzolawoffice.com
